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                   EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION



FAIR GAMING ADVOCATES MA LLC,
                        Plaintiff, Civil Action No. 1:23-cv-12878

                     v.

VGW HOLDINGS LIMITED, VGW
MALTA LIMITED, VGW LUCKYLAND
INC., and VGW US, INC.,
                        Defendants.


                           DECLARATION OF DEVIN WARD

     Individual DEVIN WARD states as follows:

  1. I am Director for Delaware corporation FGA DE INC. and I have personal knowledge of

     the books, records, operations, and corporate structure of both FGA DE INC. and Fair

     Gaming Advocates MA LLC.


  2. FGA DE INC. is the sole Member of Massachusetts limited liability company Fair

     Gaming Advocates MA LLC. Fair Gaming Advocates MA LLC is wholly owned and

     controlled by FGA DE INC.


  3. FGA DE INC. is a Delaware corporation which is incorporated in the state of Delaware.


  4. No shareholder, director, or controlling officer of FGA DE INC. or Fair Gaming

     Advocates MA LLC has ever had or created an account with or participated in any

     contest of luck or chance using any product offered by VGW Holdings Limited, VGW

     Malta Limited, VGW Luckyland Inc., or VGW US, Inc.


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   5. All of the statements in this declaration are true and correct, and all are based on personal

       knowledge, public information, and/or corporate records. I could testify competently as a

       witness to all of the facts stated herein.



I declare under pains and penalty of perjury under the laws of the United States of America that
                                                          December 27th
the foregoing is true and correct. Executed on ___________________________,       2023.




                20231227
Dated: ____________________                          ____________________________________
                                                     DEVIN WARD




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